     Case: 1:16-cv-04691 Document #: 69 Filed: 05/01/17 Page 1 of 1 PageID #:681

                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Uncommon, LLC
                                     Plaintiff,
v.                                                         Case No.: 1:16−cv−04691
                                                           Honorable Sara L. Ellis
Casetegram Limited, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 1, 2017:


        MINUTE entry before the Honorable Mary M. Rowland: The Court has been
notified that the case has settled. The settlement conference previously set for 5/3/2017 is
stricken. Parties should file their dismissal papers with the district court judge. All matters
relating to the referral of this action having been concluded, the referral is closed and the
case is returned to the assigned judge. Honorable Judge Mary M. Rowland no longer
referred to the case. Mailed notice (ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
